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EXHIBIT 2

Case 2:19-mc-00019-JES-KCD Document 1-2 Filed 12/11/19 Page 2 of 2 PagelD 53

. f
AQ 443 (Rev, 11/11) Arrest Warrant | |

UNITED STATES DISTRICT COURT LN
for the f
Middle District of Florida
United States of America
v. ) Jd,
) Case No, 2:19-mj- /47 GL AEF)
ALEX JARED ZWIEFELHOFER and )
CRAIG AUSTIN LANG )
)
)
Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

name of person to be arrested) CRAIG AUSTIN LANG >
who is accused of an offense or violation based on the following document filed with the court:

‘J Indictment = © Superseding Indictment © Infonnation © Superseding Information & Complaint
( Probation Violation Petition OO Supervised Release Violation Petition O Violation Notice © Order of the Court

This offense is briefly described as follows:

18 U.S.C. § 1951(a) Conspiracy to Interfere with Commerce by Violence;
Interference with Commerce by Violence;
18 U.S.C. §§ 924(c)(1)(A)(iii), Conspiracy to Use a Firearm During a Crime of Violence: .
. ff)(1) and (co) Use and Discharge of a Firearm During and in Relation to a Crime of Violence which

Resulted in the Death of a Person

Jae: & {xf cD aide 2 rhoal.

suing offiéer's Signature

‘ity and stare: Fort Myers, Florida Nicholas P. Mizell, U.S. Magistrate Judge
Printed name and ttle

Return

This warrant was received on (dase , and the person was arrested on (date)

I CERTIFY THE FOREGOING TO BEA TRUE — *
AND CORRECT COPY OF THE ORIGINAL

ale: UNITED STATES DISTRICT COURT

MY STRICT OF FLORIDA Arresting officer ‘s signature
» LIMA. LZ :

DEPUTY CLERK

“feuy und state)

Printed name and title

